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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                  No. 4:11CR00156-12 JLH

PAUL RANDALL HUSSEY

                                              ORDER

       The United States has filed a response to Paul Randall Hussey’s motion to vacate, set aside,

or correct his sentence pursuant to 28 U.S.C. § 2255. If Hussey wishes to file a reply, he must do

so within thirty days from the entry of this Order.

       IT IS SO ORDERED this 7th day of February, 2014.




                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
